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                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS



IN RE: EpiPen (Epinephrine Injection, USP)       CASE NO.: 2:17-MD-02785-DDC-TJJ
Marketing, Sales Practices and Antitrust
Litigation                                       Hon. Daniel D. Crabtree
                                                 Hon. Teresa J. James



SANOFI-AVENTIS U.S. LLC,
                                                 CASE NO.: 2:17-CV-02452-DDC-TJJ
                      Plaintiff-Counterclaim
                      Defendant,

       v.

MYLAN Inc., et al.,

                      Defendants-Counterclaim
                      Plaintiffs.

This Document Relates to the Sanofi Case.        Document Filed Electronically



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Exhibit 1              Excerpted Deposition Transcript of Fiona M. Scott Morton, Ph.D. –
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Exhibit 2              October 27, 2012 Auvi-Q Pricing Strategy & Recommendation
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Exhibit 3              Expert Report of Dr. Mary Ann Michelis – February 2, 2019

Exhibit 4              Article: Dr. Jay Portnoy M.D. et. Al, Patient Carrying Time, Confidence,
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